
159 N.W.2d 895 (1968)
STATE of Minnesota, Respondent,
v.
Jeffrey MILLER and Kenneth Sachs, Appellants.
Nos. 40931, 40932.
Supreme Court of Minnesota.
June 21, 1968.
*896 John S. Connolly, St. Paul, for appellants; Lynn Castner, Minneapolis, Civil Liberties Union, of counsel.
Douglas M. Head, Atty. Gen., and Joseph P. Summers, City Atty., Daniel Klas, Thomas M. Mooney, Asst. City Atty., St. Paul, for respondent.

OPINION
PER CURIAM.
Defendants were convicted of trespassing on the private property of another in violation of Minn.St. 609.605, a misdemeanor. The evidence established that defendants entered the Midway Shopping Center, located at University and Snelling Avenues in the city of St. Paul, on October 12, 1966, for the purpose of distributing a pamphlet or tract on behalf of the candidacy of certain persons on the ticket of the Industrial Government Party in Minnesota. The shopping center has many diverse business concerns on its premises and is open generally to the public.
On May 20, 1968, the case of Amalgamated Food Employees Union Local 590 v. Logan Valley Plaza, Inc., 390 U.S. ___, 88 S.Ct. 1601, 19 L.Ed.2d 818, was decided by the Supreme Court of the United States. The decision is controlling over the facts involved in the case now before us. On the basis thereof the convictions must be reversed.
Reversed.
